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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
       v.                                      :      Criminal No. 21-mj-289
                                               :
CORINNE LEE MONTONI,                           :      Status: January 4, 2021
                                               :
                        Defendant.             :

             UNITED STATES’ UNOPPOSED MOTION TO CONTINUE AND
                TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

       The United States of America hereby moves this Court to continue the above-captioned

proceeding for approximately 30 days, and further to exclude the time within which an indictment

must be filed under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends of

justice served by taking such actions outweigh the best interest of the public and the defendant in

a speedy trial pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv).

Defense counsel, Bernie Crane, Esquire, consents to the requested continuance and the tolling of

the Speedy Trial Act.    In support of its motion, the government states as follows:

                                  FACTUAL BACKGROUND

       Defendant is charged via complaint with offenses related to crimes that occurred at the

United States Capitol on January 6, 2021.     In brief, on that date, as a Joint Session of the United

States House of Representatives and the United States Senate convened to certify the vote of the

Electoral College of the 2020 U.S. Presidential Election, members of a large crowd that had

gathered outside forced entry into the U.S. Capitol, including by breaking windows and by

assaulting members of law enforcement, as others in the crowd encouraged and assisted those acts.

Scores of individuals entered the U.S. Capitol without authority to be there. As a result, the Joint

Session and the entire official proceeding of the Congress was halted until the Capitol Police, the
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Metropolitan Police Department, and other law enforcement agencies from the city and

surrounding region were able to clear the Capitol of hundreds of unlawful occupants and ensure

the safety of elected officials.   This event in its entirety is hereinafter referred to as the “Capitol

Attack.”

        The investigation and prosecution of the Capitol Attack will likely be one of the largest in

American history, both in terms of the number of defendants prosecuted and the nature and volume

of the evidence.   Over 600 individuals have been charged in connection with the Capitol Attack.

The investigation continues and the government expects that additional individuals will be

charged.     While most of the cases have been brought against individual defendants, the

government is also investigating conspiratorial activity that occurred prior to and on January 6,

2021.   The spectrum of crimes charged and under investigation in connection with the Capitol

Attack includes (but is not limited to) trespass, engaging in disruptive or violent conduct in the

Capitol or on Capitol grounds, destruction of government property, theft of government property,

assaults on federal and local police officers, firearms offenses, civil disorder, obstruction of an

official proceeding, possession and use of destructive devices, and conspiracy.

        Defendants charged and under investigation come from throughout the United States, and

a combined total of over 900 search warrants have been executed in almost all fifty states and the

District of Columbia.    Multiple law enforcement agencies were involved in the response to the

Capitol Attack, which included officers and agents from U.S. Capitol Police, the District of

Columbia Metropolitan Police Department, the Federal Bureau of Investigation, the Department

of Homeland Security, the Bureau of Alcohol, Tobacco, Firearms and Explosives, the United

States Secret Service, the United States Park Police, the Virginia State Police, the Arlington

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County Police Department, the Prince William County Police Department, the Maryland State

Police, the Montgomery County Police Department, the Prince George’s County Police

Department, and the New Jersey State Police.          Documents and evidence accumulated in the

Capitol Attack investigation thus far include: (a) more than 15,000 hours of surveillance and body-

worn camera footage from multiple law enforcement agencies; (b) approximately 1,600 electronic

devices; (c) the results of hundreds of searches of electronic communication providers; (d) over

210,000 tips, of which a substantial portion include video, photo and social media; and (e) over

80,000 reports and 93,000 attachments related to law enforcement interviews of suspects and

witnesses and other investigative steps.   As the Capitol Attack investigation is still on-going, the

number of defendants charged and the volume of potentially discoverable materials will only

continue to grow.    In short, even in cases involving a single defendant, the volume of discoverable

materials is likely to be significant.

        The United States is aware of and takes seriously its obligations pursuant to Federal Rule

of Criminal Procedure 16 and Local Criminal Rule 5.1(a), the provisions of Brady v. Maryland,

373 U.S. 83, 87 (1963), Giglio v. United States, 405 U.S. 150, 153-54 (1972), and the Jencks Act,

18 U.S.C. § 3500.       Accordingly, the government, in consultation with the Federal Public

Defender, has developed a comprehensive plan for handling, tracking, processing, reviewing and

producing discovery across the Capitol Attack cases.     Under the plan, the discovery most directly

and immediately related to pending charges in cases involving detained defendants will be given

priority.    Discovery for cases that do not involve detained defendants will follow thereafter.

Such productions will also be supplemented on an on-going basis.        In the longer term, the plan

includes a system for storing, organizing, searching, producing and/or making available

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voluminous materials such as those described above in a manner that is workable for both the

government and hundreds of defendants. The government, through further consultation with the

Federal Public Defender, continues to develop and implement the latter.

       Defendant in this case is charged with violations of 18 U.S.C. § 1512(c)(2) (obstruction of

an official proceeding); 18 U.S.C. §§ 1752(a)(1) and (2) (entering and remaining and disorderly

and disruptive in a restricted building or grounds); and 40 U.S.C. §§ 5104(e)(D) and (G)

(disorderly conduct; parading, demonstrating, or picketing in a Capitol building).      In this case,

upon defense counsel’s entry of appearance, the government provided preliminary discovery,

consisting of the complaint, arrest warrant, and underlying affidavit.       On May 27, 2021, the

government provided defense counsel with a comprehensive discovery production from the FBI’s

case file, containing information most relevant to the defendant’s case, including, but not limited

to, reports of witness statements and identifications, social media posts, photographic evidence,

surveillance and arrest reports, statements of the defendant, search warrant materials, and evidence

obtained pursuant to these search warrants.      On October 20, 2021, the government provided

defense counsel with a sensitive global discovery production, which included, but was not limited

to, thousands of files of U.S. Capitol Police Closed Circuit Video (USCP CCV) and body-worn

camera (BWC) video footage recorded during the Capitol Attack, as well as related maps and U.S.

Capitol Police Radio Communications.        In addition, the government is currently conducting a

case-specific scrub of other evidence collected during January 6, 2021 investigation, including

USCP CCV and BWC video footage.           The government expects that this information will help

provide an accurate representation of the defendant’s actions while on the capitol grounds.

Finally, the parties are in ongoing discussions about a potential resolution to this matter.

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                                                ARGUMENT

       Pursuant to the Speedy Trial Act, an indictment charging an individual with the

commission of an offense generally must be filed within thirty days from the date on which such

individual was arrested or served with a summons in connection with such charges. 18 U.S.C. §

3161(a).      Further, as a general matter, in any case in which a plea of not guilty is entered, a

defendant charged in an information or indictment with the commission of an offense must

commence within seventy days from the filing date (and making public) of the information or

indictment, or from the date the defendant has appeared before a judicial officer of the court in

which such charge is pending, whichever date last occurs.       18 U.S.C. § 3161(c)(1).

       Section 3161(h) of the Speedy Trial Act sets forth certain periods of delay which the Court

must exclude from the computation of time within which an indictment must be filed.              As is

relevant to this motion for a continuance, pursuant to subsection (h)(7)(A), the Court must exclude:

       Any period of delay resulting from a continuance granted by any judge on his own
       motion or at the request of the defendant or his counsel or at the request of the
       attorney for the Government, if the judge granted such continuance on the basis of
       his findings that the ends of justice served by taking such action outweigh the best
       interest of the public and the defendant in a speedy trial.

18 U.S.C. § 3161(h)(7)(A).       This provision further requires the Court to set forth its reasons for

finding that that any ends-of-justice continuance is warranted.       Id.   Subsection (h)(7)(B) sets

forth a non-exhaustive list factors that the Court must consider in determining whether to grant an

ends-of-justice continuance, including:

       (i)        Whether the failure to grant such a continuance in the proceeding would
                  be likely to make a continuation of such proceeding impossible, or result
                  in a miscarriage of justice.

       (ii)       Whether the case is so unusual or so complex, due to the number of
                  defendants, the nature of the prosecution, or the existence of novel
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                   questions of fact or law, that it is unreasonable to expect adequate
                   preparation for pretrial proceedings or for the trial itself within the time
                   limits established by this section.
                   ...

           (iv)    Whether the failure to grant such a continuance in a case which, taken as a
                   whole, is not so unusual or so complex as to fall within clause (ii), would
                   deny the defendant reasonable time to obtain counsel, would unreasonably
                   deny the defendant or the Government continuity of counsel, or would
                   deny counsel for the defendant or the attorney for the Government the
                   reasonable time necessary for effective preparation, taking into account
                   the exercise of due diligence.

18 U.S.C. § 3161(h)(7)(B)(i)(ii) and (iv).       Importantly, “[i]n setting forth the statutory factors that

justify a continuance under subsection (h)(7), Congress twice recognized the importance of

adequate pretrial preparation time.” Bloate v. United States, 559 U.S. 196, 197 (2010) (citing

§3161(h)(7)(B)(ii), (B)(iv)).

           An interests of justice finding is within the discretion of the Court.   See, e.g., United States

v. Rojas-Contreras, 474 U.S. 231, 236 (1985); United States v. Hernandez, 862 F.2d 17, 24 n.3

(2d Cir. 1988). “The substantive balancing underlying the decision to grant such a continuance is

entrusted to the district court’s sound discretion.” United States v. Rice, 746 F.3d 1074 (D.C. Cir.

2014).

           In this case, an ends-of-justice continuance is warranted under 18 U.S.C. § 3161(h)(7)(A)

based on the factors described in 18 U.S.C. § 3161(h)(7)(B)(i)(ii) and (iv).          As described above,

the Capitol Attack is likely the most complex investigation ever prosecuted by the Department of

Justice.      Developing a system for storing and searching, producing and/or making available

voluminous materials accumulated across hundreds of investigations, and ensuring that such

system will be workable for both the government and defense, will continue take time.               Further

adding to production and review times, certain sensitive materials may require redaction or
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restrictions on dissemination, and other materials may need to be filtered for potentially privileged

information before they can be reviewed by the prosecution.

       The need for reasonable time to organize, produce, and review voluminous discovery is

among multiple pretrial preparation grounds that Courts of Appeals have routinely held sufficient

to grant continuances and exclude the time under the Speedy Trial Act.      See, e.g., United States

v. Bikundi, 926 F.3d 761, 777-78 (D.C. Cir. 2019)(Upholding ends-of-justice continuances totaling

18 months in two co-defendant health care fraud and money laundering conspiracy case, in part

because the District Court found a need to “permit defense counsel and the government time to

both produce discovery and review discovery”); United States v. Bell, 925 F.3d 362, 374 (7th Cir.

2019)(Upholding two-month ends-of-justice continuance in firearm possession case, over

defendant’s objection, where five days before trial a superseding indictment with four new counts

was returned, “1,000 pages of new discovery materials and eight hours of recordings” were

provided, and the government stated that “it needed more than five days to prepare to try [the

defendant] on the new counts”); United States v. Vernon, 593 F. App’x 883, 886 (11th Cir. 2014)

(District court did not abuse its broad discretion in case involving conspiracy to commit wire and

mail fraud by granting two ends-of-justice continuances due to voluminous discovery); United

States v. Gordon, 710 F.3d 1124, 1157-58 (10th Cir. 2013)(Upholding ends-of-justice continuance

of ten months and twenty-four days in case involving violation of federal securities laws, where

discovery included “documents detailing the hundreds financial transactions that formed the basis

for the charges” and “hundreds and thousands of documents that needs to be catalogued and

separated, so that the parties could identify the relevant ones”)(internal quotation marks omitted);

United States v. Lewis, 611 F.3d 1172, 1177-78 (9th Cir. 2010)(Upholding ninety-day ends-of-

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justice continuance in case involving international conspiracy to smuggle protected wildlife into

the United States, where defendant’s case was joined with several co-defendants, and there were

on-going investigations, voluminous discovery, a large number of counts, and potential witnesses

from other countries); United States v. O’Connor, 656 F.3d 630, 640 (7th Cir. 2011)(Upholding

ends-of-justice continuances totaling five months and twenty days in wire fraud case that began

with eight charged defendants and ended with a single defendant exercising the right to trial, based

on “the complexity of the case, the magnitude of the discovery, and the attorneys’ schedules”).

       In sum, due to the number of individuals currently charged across the Capitol Attack

investigation and the nature of those charges, the on-going investigation of many other individuals,

the volume and nature of potentially discoverable materials, and the reasonable time necessary for

effective preparation by all parties taking into account the exercise of due diligence, the failure to

grant such a continuance in this proceeding would be likely to make a continuation of this

proceeding impossible, or result in a miscarriage of justice.      Accordingly, the ends of justice

served by granting a request for a continuance outweigh the best interest of the public and the

defendant in a speedy trial.

       Government counsel notified the defense of the filing of this motion, and counsel consents

to the motion.

       WHEREFORE, the government respectfully requests that this Court grant the motion to

continue the afore-mentioned proceeding for approximately 30 days, and that the Court exclude

the time within which an indictment must be filed under the Speedy Trial Act, 18 U.S.C. § 3161

et seq., on the basis that the ends of justice served by taking such actions outweigh the best interest

of the public and the defendant in a speedy trial pursuant to the factors described in 18 U.S.C. §

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3161(h)(7)(A), (B)(i), (ii), and (iv).



                                               Respectfully submitted,

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